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 7   MARCELLE BANAGA
 8                               UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10

11

12                                                         CASE NO.: 2:15-CR-00235-TLN
      UNITED STATES OF AMERICA,
13
            PLAINTIFF                                      [PROPOSED] ORDER PERMITTING
14                                                         TEMPORARY TRAVEL
15

16     MARCELLE BANAGA
                                                           JUDGE: HONORABLE
17                                                                ALLISON CLAIRE
18                    DEFENDANT

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21
            Defendant Marcelle Banaga, currently on pre-trial release, seeks permission to travel
22
     from Romania, his country of residence, to Istanbul, Turkey, on October 10th, 2018, for a period
23
     not to exceed 5 days.
24          Pre-trial Services officer Steven Sheehan and Assistant United States Attorneys Todd
25   Pickles and Michael Beckwith have been notified of this request and have no objection to it.
26          The itinerary concerning this request has been provided to Pre-trial Services.
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 1                                                    Respectfully Submitted,
 2

 3         Signed: 10/1/2018                          /s/ Alin D. Cintean
                                                      Alin D. Cintean, Attorney at Law
 4

 5
           Signed: 10/2/2018                          /s/ Todd Pickles __
 6                                                    Todd Pickles
                                                      Assistant United States Attorney
 7

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           Upon review and consideration of Defendant’s request and the agreement of the parties,
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     the Court GRANTS the request.
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           IT IS SO ORDERED.
14

15         October 2, 2018
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